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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


DOROTHY CAROL JONES,                              )
                                                  )
                 Plaintiff,                       )
                                                  )
                                                  ) No. 1:16-cv-02522-TWP-TAB
       vs.                                        )
                                                  ) Honorable Judge Tanya Walton Pratt
                                                  )
MED-BILL CORPORATION,                             ) Magistrate Judge Tim A. Baker
                                                  )
                 Defendant,                       )

                 AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between the parties through their

respective counsel that the above-captioned action is dismissed, with prejudice against the defendant

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear its own costs and

attorney fees.

Dated: April 19, 2017                                 Respectfully Submitted,

/s/ Todd J. Kaiser                                    /s/ Daniel M. Spector
Todd J. Kaiser                                        Daniel M. Spector
Counsel for Defendant                                 Counsel for Plaintiff
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                               CERTIFICATE OF SERVICE

      I, Daniel M. Spector, an attorney, certify that on April 19, 2017, I caused the foregoing
Agreed Stipulation of Dismissal with Prejudice to be served upon the Defendant, Med-Bill
Corporation, via the Court’s electronic notification system, CM/ECF.




                                           /s/ Daniel M. Spector
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                                           David S. Klain, Esq. #66305
                                           Counsel for Plaintiff
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